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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )            Criminal No. 12-58-GFVT
                                                  )
 V.                                               )
                                                  )
 HAROLD EATON,                                    )                      ORDER
                                                  )
                                                  )
         Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 339] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, Harold Eaton, is charged with

three violations of his supervised release including committing another crime by operating a

motor vehicle while under the influence of alcohol and the failure to report his arrest for that

crime to his probation officer within seventy-two hours. [Id. at 1-2.] After Eaton was stopped

by law enforcement on February 20, 3016, and submitted to a breathalyzer test resulting in a .247

blood alcohol content, he pled guilty to the charge in Laurel County District Court. [Id.] Upon

notification of these violations, this Court conducted an initial appearance on March 25, 2016.

[R. 335.] This matter was then referred to Judge Ingram to conduct a final revocation hearing

and recommend a proposed disposition of the matter.

       Concerning the instant offense, Judge Ingram conducted a final hearing on March 31

2016, during which Defendant Eaton competently stipulated to all charged violations. [Id.; R.

339 at 2.] On April 4, 2016, Judge Ingram issued a Recommended Disposition which
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recommended revocation of Eaton’s term of supervised release and a term of incarceration for

four (4) months with three years of supervised release to follow. [R. 339 at 6-7.] Judge Ingram

appropriately considered the 18 U.S.C. § 3553 factors in coming to his recommended sentence,

and particularly noted Eaton’s prior conviction for driving under the influence, the serious

danger such conduct poses to himself and the public as a whole, the troubling nature of Eaton’s

violation of the Court’s trust in this instance, and the fact that this conduct occurred so soon after

his term of supervision began. [Id. at 4-6.] Pursuant to Rule 59(b) of the Federal Rules of

Criminal Procedure, the Recommended Disposition further advises the parties that objections

must be filed within fourteen (14) days of service. [Id. at 7.] See 28 U.S.C. § 636(b)(1).

Defense counsel has filed a notice with the Court advising that Eaton waives his right to

allocution and has submitted that waiver. [R. 340.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 339] as to Defendant Harold Eaton is

ADOPTED as and for the Opinion of the Court;
                                           2
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       2.     Defendant Eaton is found to have violated the terms of his Supervised Release as

set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition of

the Magistrate Judge;

       3.     Eaton’s Supervised Release is REVOKED;

       4.     Eaton is SENTENCED to the Custody of the Bureau of Prisons for a term of

four (4) months with a term of thirty-six (36) months of supervised release to follow under

the conditions previously imposed at Docket Entry 261; and

       6.     Judgment shall be entered promptly.

       This the 21st day of April, 2016.




                                               3
